      Case 3:22-cv-04779-VC             Document 76   Filed 11/21/24      Page 1 of 16



 1   BRYAN A. MERRYMAN (SBN 134357)
     bmerryman@whitecase.com
 2   KATHERINE GODAR (SBN 343096)
     katherine.godar@whitecase.com
 3   WHITE & CASE LLP
     555 S. Flower Street, Suite 2700
 4   Los Angeles, CA 90071-2433
     Telephone: (213) 620-7700
 5   Facsimile: (213) 452-2329
 6   BRIENNE M. LETOURNEAU (admitted pro hac vice)
     brienne.letourneau@whitecase.com
 7   WHITE & CASE LLP
     111 S. Wacker Dr., Suite 5100
 8   Chicago, IL 60606-4302
     Telephone: (312) 881-5400
 9   Facsimile: (312) 881-5450
10   Attorneys for Defendant
     GERBER PRODUCTS COMPANY
11

12                                     UNITED STATES DISTRICT COURT
13                                 NORTHERN DISTRICT OF CALIFORNIA
14                                        SAN FRANCISCO DIVISION
15

16   TRACY HOWARD, ERI NOGUCHI, and                     Case No. 3:22-CV-04779-VC
     SCOTT DIAS, on behalf of themselves and
17   those similarly situated,                          DEFENDANT GERBER PRODUCTS
                                                        COMPANY’S REPLY IN SUPPORT
18                        Plaintiff,                    OF MOTION TO DISMISS
                                                        PLAINTIFFS’ SECOND AMENDED
19            v.                                        CLASS ACTION COMPLAINT
20   GERBER PRODUCTS COMPANY,                           Date: December 12, 2024
                                                        Time: 10:00 a.m.
21                        Defendant.                    Courtroom: 4
                                                        Judge: Hon. Vince Chhabria
22

23

24

25

26

27

28

                                                         GERBER’S REPLY IN SUPPORT OF MOTION TO DISMISS –
     AMERICAS 117949192                                  CASE NO. 3:22-cv-04779-VC
     Case 3:22-cv-04779-VC                         Document 76                 Filed 11/21/24                Page 2 of 16


 1                                                        TABLE OF CONTENTS

 2                                                                                                                                             Page(s)

 3            INTRODUCTION ............................................................................................................... 1
 4            PLAINTIFFS’ SECOND AMENDED COMPLAINT SHOULD BE DISMISSED .......... 2
 5            A.          Plaintiffs Fail to State a Fraud-Based Claim ............................................................ 2
 6            B.          Plaintiffs’ UCL and FAL Claims Should Be Dismissed Because They
                          Have an Adequate Legal Remedy and Lack Standing to Seek Injunctive
 7                        Relief ........................................................................................................................ 4
 8            C.          Plaintiffs’ UCL “Unlawful” Prong Claim Fails ....................................................... 7
 9            D.          Plaintiffs Lack Standing for Claims Based on Statements They Did Not
                          Rely On and Products They Did Not Purchase ........................................................ 9
10
              E.          Plaintiffs’ UCL “Unfair” Prong and Unjust Enrichment Claims Fail ..................... 9
11
              F.          Plaintiffs’ Objections to Gerber’s Request for Judicial Notice Should Be
12                        Disregarded or, Alternatively, Overruled............................................................... 10
13            CONCLUSION .................................................................................................................. 10
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                           -i-
                                                                                        GERBER’S REPLY IN SUPPORT OF MOTION TO DISMISS –
     AMERICAS 117949192                                                                 CASE NO. 3:22-cv-04779-VC
      Case 3:22-cv-04779-VC                     Document 76              Filed 11/21/24            Page 3 of 16


                                                   TABLE OF AUTHORITIES
 1
                                                                                                                                 Page(s)
 2
                                                                   CASES
 3
     Allen v. Dollar Tree Stores, Inc.,
 4       475 F. App’x 159 (9th Cir. 2012) ...............................................................................................4
 5
     Amans v. Tesla, Inc.,
 6     No. 21-cv-03577-VC, 2022 WL 2952474 (N.D. Cal. July 26, 2022).........................................6

 7   Andrade-Heymsfield v. Danone US, Inc.,
        No. 19-CV-589-CAB-WVG, 2019 WL 3817948 (S.D. Cal. Aug. 14, 2019) .............................9
 8
     Ang v. Bimbo Bakeries USA, Inc.,
 9      No. 13-CV-01196-WHO, 2013 WL 5407039 (N.D. Cal. Sept. 25, 2013) .................................8
10   Beasley v. Lucky Stores, Inc.,
11      400 F. Supp. 3d 942 (N.D. Cal. 2019) ........................................................................................9

12   Brown v. Van’s Int’l Foods, Inc.,
        No. 22-cv-00001-WHO, 2022 WL 1471454 (N.D. Cal. May 10, 2022) ....................................2
13
     Cepelak v. HP Inc.,
14      No. 20-CV-02450-VC, 2021 WL 5298022 (N.D. Cal. Nov. 15, 2021)......................................6
15   Clemmons v. Upfield US Inc.,
16      667 F. Supp. 3d 5 (S.D.N.Y. 2023) .............................................................................................8

17   Daniels-Hall v. Nat’l Educ. Ass’n,
        629 F.3d 992 (9th Cir. 2010).....................................................................................................10
18
     Davidson v. Kimberly-Clark,
19      889 F.3d 956 (9th Cir. 2018).......................................................................................................7
20   Davidson v. Sprout Foods, Inc.,
        106 F.4th 842 (9th Cir. 2024)..........................................................................................1, 2, 3, 4
21

22   Day v. Advanced Micro Devices, Inc.,
        No. 22-cv-04305-VC, 2023 WL 2347421 (N.D. Cal. Mar. 2, 2023) ..........................................6
23
     Elgindy v. AGA Service Company,
24      No. 20-CV-06305, 2021 WL 1176535 (N.D. Cal. Mar. 29, 2021) .............................................5
25   Hanna v. Walmart Inc.,
        No. 5:20-cv-01075-MCS-SHK, 2020 WL 7345680 (C.D. Cal. Nov. 4, 2020) ..........................6
26
     Hanscom v. Reynolds Consumer Prod. LLC,
27
        No. 21-CV-03434-JSW (N.D. Cal. Jan. 21, 2022), ECF No. 42 ................................................5
28
                                                                     - ii -
                                                                                 GERBER’S REPLY IN SUPPORT OF MOTION TO DISMISS –
     AMERICAS 117949192                                                          CASE NO. 3:22-cv-04779-VC
      Case 3:22-cv-04779-VC                       Document 76                Filed 11/21/24               Page 4 of 16


     Howard v. Hain Celestial Grp., Inc. (“Hain I”),
 1     No. 22-CV-00527-VC, 2024 WL 718180 (N.D. Cal. Feb. 22, 2024) ........................................6
 2
     Howard v. Hain Celestial Grp., Inc.,
 3     No. 22-CV-00527-VC, 2024 WL 4369648 (N.D. Cal. Oct. 1, 2024) .........................................9

 4   MGIC Indem. Corp. v. Weisman,
       803 F.2d 500 (9th Cir. 1986).....................................................................................................10
 5
     Riegels v. Comm’r (In re Estate of Saunders),
 6      745 F.3d 953 (9th Cir. 2014).......................................................................................................9
 7
     Sanchez v. Nurture, Inc.,
 8      No. 5:21-CV-08566, 2023 WL 6391487 (N.D. Cal. Sept. 29, 2023) .........................................3

 9   Stanford v. Home Depot U.S.A., Inc.,
        No. 07CV2193-LAB(WMC), 2008 WL 7348181 (S.D. Cal. May 27, 2008) ............................7
10
     United States v. S. Cal. Edison Co.,
11      300 F. Supp. 2d 964 (E.D. Cal. 2004) .......................................................................................10
12   Washington v. Marion Cty. Prosecutor,
13     264 F. Supp. 3d 957 (S.D. Ind. 2017) .........................................................................................7

14   In re WellPoint, Inc. Out-of-Network “UCR” Rates Litig.,
         No. MDL092074PSGFFMX, 2013 WL 12130034 (C.D. Cal. July 19, 2013) ...........................1
15
                                                             FEDERAL RULES
16
     Fed. R. Civ. Proc. 9(b) ......................................................................................................................3
17
                                                      FEDERAL REGULATIONS
18
     21 C.F.R. § 101.13(b)(2) ...................................................................................................................8
19

20   21 C.F.R. § 101.93(f) ........................................................................................................................8

21                                                           MISCELLANEOUS

22   Local Rule 7-3(a) ............................................................................................................................10

23   WHO European Region (“WHO European Region NPPM”), https://www.who.int/europe//i/item/-
       -(listing publication date as November 21, 2022) .......................................................................2
24

25

26

27

28
                                                                        - iii -
                                                                                      GERBER’S REPLY IN SUPPORT OF MOTION TO DISMISS –
      AMERICAS 117949192                                                              CASE NO. 3:22-cv-04779-VC
         Case 3:22-cv-04779-VC       Document 76        Filed 11/21/24      Page 5 of 16


 1            INTRODUCTION

 2            Plaintiffs’ opposition (“Opp.”) confirms they cannot meet the Ninth Circuit’s requirement

 3   that they support their claims alleging baby food labels misled consumers about the healthiness of

 4   the Products with concrete and specific allegations of actual harm. Davidson v. Sprout Foods, Inc.,

 5   106 F.4th 842, 845, 852 (9th Cir. 2024).1 Gerber showed in its opening brief (“Br.”) that while

 6   Plaintiffs have increased the volume of generalized, speculative allegations in their SAC, they still

 7   do not specifically allege any of Gerber’s products have caused any of the purported harms. In

 8   response, Plaintiffs do little more than parrot the deficient allegations in their SAC. What they do

 9   not—and cannot—do is identify a single allegation of harm tied to any specific Product that goes

10   beyond the “hypotheticals and contingencies” the Ninth Circuit rejected in Davidson.

11            Gerber also showed in its opening brief that Plaintiffs’ equitable claims under the UCL and

12   FAL fail because they have an adequate remedy at law (which bars equitable relief), cannot seek

13   injunctive relief, fail to allege unlawful conduct, and cannot pursue claims based on products they

14   did not purchase and label claims they did not rely on. Plaintiffs make little attempt to meet the

15   substance of these arguments. Instead, seeking to hold Gerber to a higher standard of review, they

16   try to recast them as arguments for “reconsideration” of this Court’s prior order, and urge the Court

17   to reject them on that basis. But Plaintiffs created a blank slate when they chose to amend their

18   complaint. “[T]he law is clear in this Circuit that an amended complaint supersedes the original.”

19   In re WellPoint, Inc. Out-of-Network “UCR” Rates Litig., No. MDL092074PSGFFMX, 2013 WL

20   12130034, at *2 (C.D. Cal. July 19, 2013) (cleaned up). Thus, “defendants moving to dismiss an

21   amended complaint” may “make arguments previously made” and “raise new arguments that were

22   previously available” without being “held to the reconsideration standards.” Id.

23            Plaintiffs nevertheless spend much of their brief complaining that Gerber “rehashes”

24   arguments, even though Gerber’s arguments respond directly to this Court’s prior reasoning and

25   cite subsequent authority. Plaintiffs also disregard two of this Court’s recent rulings in Howard v.

26   Hain Celestial—a parallel case brought by Plaintiff Howard against a competitor baby food

27   company—that directly support Gerber’s standing arguments.

28   1
         Acronyms and defined terms have the same meaning as in Gerber’s motion.
                                                  -1-
                                                          GERBER’S REPLY IN SUPPORT OF MOTION TO DISMISS –
     AMERICAS 117949192                                   CASE NO. 3:22-cv-04779-VC
         Case 3:22-cv-04779-VC           Document 76      Filed 11/21/24       Page 6 of 16


 1            These issues cannot be remedied by amendment. Dismissal with prejudice is warranted.

 2            PLAINTIFFS’ SECOND AMENDED COMPLAINT SHOULD BE DISMISSED

 3            A.          Plaintiffs Fail to State a Fraud-Based Claim
 4            Gerber showed Plaintiffs’ fraud-based claims fail because Plaintiffs do not plausibly allege
 5   the Products cause harm, as Davidson requires. Br. at 3-5. Plaintiffs insist their “sugar theory”
 6   claims pass muster under Davidson because they allege the WHO “recommends a front-of-pack
 7   ‘indicator label’” for baby and toddler products with a sugar density of 30%, and “the SAC includes
 8   calculations” showing each Product purportedly “has a sugar density about 30%.” Opp. at 5.
 9            There are several problems with this argument. First, Plaintiffs rely on WHO guidance
10   issued on November 21, 2022—after Plaintiffs allege they began purchasing the Products, and
11   several months after Plaintiff Howard filed her original complaint. See SAC ¶¶ 53, 60, 91,2 75,
12   76.3 Plaintiffs thus do not (and cannot) plausibly allege Gerber marketed the Products with
13   knowledge of the WHO guidance—as they must to state a fraud claim on that basis. See, e.g.,
14   Brown v. Van’s Int’l Foods, Inc., No. 22-cv-00001-WHO, 2022 WL 1471454, at *12 (N.D. Cal.
15   May 10, 2022) (“critical piece” of fraud claim is that “defendant knew of the material fact and
16   either misrepresented or concealed that fact to induce reliance by the plaintiff”). Second, the WHO
17   guidance is directed to the “WHO European Region,” based on “commercial food products for
18   infants and young children…sold across Europe.”            WHO European Region NPPM, https://
19   www.who.int/europe/publications/i/item/WHO-EURO-2022-6681-46447-67287. Plaintiffs allege
20   no basis from which to plausibly infer the same guidance applies to infant and toddler food products
21   sold in the United States, based on the American diet.
22            Third, like the allegations in Davidson that certain products “contain high amounts of free
23   sugars accompanied by a list of the grams of sugar in some of the products,” Plaintiffs’ sugar
24
     2
25    The SAC includes two paragraphs numbered as 91, 75, and 76, and they are not listed sequentially.
     Gerber directs the Court to the paragraphs numbered as 91 on page 22, 75 on page 23, and 76 on
26   page 24 of the SAC.
     3
27     See also Nutrient and promotion profile model: supporting appropriate promotion of food
     products for infants and young children 6–36 months in the WHO European Region (“WHO
28   European Region NPPM”), https://www.who.int/europe/publications/i/item/WHO-EURO-2022-
     6681-46447-67287 (listing publication date as November 21, 2022).
                                                   -2-
                                                             GERBER’S REPLY IN SUPPORT OF MOTION TO DISMISS –
     AMERICAS 117949192                                      CASE NO. 3:22-cv-04779-VC
         Case 3:22-cv-04779-VC       Document 76        Filed 11/21/24      Page 7 of 16


 1   density calculations “lack[] context,” as they do not explain “why the level of sugar in these

 2   products, in particular, could cause harm.” Davidson, 106 F.4th at 853 (cleaned up) (emphasis

 3   added). Plaintiffs do not, for example, allege the purported risk of harm from the Products’ “sugar

 4   density” negates or outweighs health benefits conferred by their other nutritional characteristics

 5   and ingredients—which, as one of Plaintiffs’ “child nutrition experts” acknowledges, are “usually

 6   more nutritious than other packaged snacks.” RJN Ex. 2 at 3 (cited in SAC ¶ 73). That is the type

 7   of “context” the Ninth Circuit found lacking in the Davidson complaint, and that remains lacking

 8   in the SAC. Plaintiffs cite Krommenhock v. Post Foods, LLC and Hadley v. Kellogg Sales Company

 9   to support their argument that such a contextual analysis is not appropriate on a motion to dismiss.

10   Opp. at 8. Both cases predate Davidson, however, which clarified that contextual analysis at the

11   pleading stage is not only appropriate but required. See Davidson, 106 F.4th at 853.

12            Fourth, Plaintiffs do not refute Gerber’s showing that Plaintiffs do not allege a plausible

13   inference of harm because the only risk of consuming the Products they allege is that such

14   consumption will “encourage”—not “cause”—“a preference for sweeter foods,” which

15   theoretically could lead to poor health outcomes. Br. at 4. As Gerber explained, this is precisely

16   the type of speculative allegation the Ninth Circuit rejected in Davidson, as it requires numerous

17   inferential leaps and thus “relies on hypotheticals and contingencies outside the scope of the case.”

18   Br. at 3-4. Plaintiffs suggest their allegations suffice because they allege “several health risks

19   associated with excess sugar consumption for children under two, including obesity, dental decay,

20   and blood sugar issues.” Opp. at 7. This is misleading. The only “health risk” Plaintiffs allege is

21   directly caused by the Products’ sugar content is “encourag[ing] a preference for sweeter foods.”

22   SAC ¶¶ 60, 63, 64. Their allegations that developing a “preference for sweeter foods” may in turn

23   cause overconsumption of “sweeter foods”—which in turn may “contribute to” the enumerated

24   health outcomes—which ultimately may or may not develop—depend on a series of unrealized

25   contingencies with limitless confounding factors. This chain of “hypotheticals and contingencies”

26   fails to “allege fraud with particularity as required by Rule 9(b).” Davidson, 106 F.4th at 853.4

27   4
      Plaintiffs’ discussion of “added sugar,” Opp. at 6, is a red herring. Only three of 52 Products have
28   added sugar. Plaintiffs also ignore, and thus concede, Gerber’s argument that Plaintiffs’ failure to
     “allege that those effects would vitiate, negate, or even relate to the” benefits offered by the
                                                    -3-
                                                          GERBER’S REPLY IN SUPPORT OF MOTION TO DISMISS –
     AMERICAS 117949192                                   CASE NO. 3:22-cv-04779-VC
         Case 3:22-cv-04779-VC          Document 76     Filed 11/21/24       Page 8 of 16


 1            Gerber also showed Plaintiffs’ allegations of harm caused by sodium content and the texture

 2   and mechanics of pouch products fail the Davidson test because they are unspecific and speculative.

 3   Br. at 4-5. Plaintiffs respond with a laundry list of generalized allegations in the SAC that “high

 4   sodium content” is harmful and pouch products are “not recommended.” Opp. at 7-9. Such “largely

 5   unspecific” allegations do not explain why the sodium levels and pouch format of “these products,

 6   in particular, could cause harm.” Davidson, 106 F.4th at 853. Plaintiffs insist they have added

 7   detail to the SAC, but that does not solve the problem that their added details still do not link their

 8   alleged harms to the Products in the concrete and specific way Davidson requires. See id.

 9            Plaintiffs ignore, and thus concede, Gerber’s showing that they do not—and apparently

10   cannot—allege any child has suffered health impacts from consuming the Products. Br. at 5; see,

11   e.g., Allen v. Dollar Tree Stores, Inc., 475 F. App’x 159, 159 (9th Cir. 2012) (affirming dismissal

12   of certain claims because plaintiff “failed to respond to [the defendant’s] argument that those claims

13   were time barred”). This failure to “actually allege[] that [Gerber’s] products” have “cause[d] any

14   of the[] harms” independently dooms Plaintiffs’ fraud-based claims. See Davidson, 106 F.4th at

15   853. Plaintiffs also fail to respond to Gerber’s argument that Plaintiffs’ fraud claims independently

16   fail the “reasonable consumer” test because Plaintiffs do not allege a plausible nexus between the

17   disputed label claims—which have nothing to do with the Products’ sugar and sodium content,

18   texture, and packaging—and the harms purportedly caused by the Products. They also concede, as

19   they must, that allegations of bare procedural violations do not state a fraud claim. See Br. at 7.5

20            B.          Plaintiffs’ UCL and FAL Claims Should Be Dismissed Because They Have an
                          Adequate Legal Remedy and Lack Standing to Seek Injunctive Relief
21
              Gerber demonstrated Plaintiffs cannot seek equitable relief because acknowledging their
22
     legal claims may be more difficult to prove and may not succeed—which is all they do in the
23
     SAC—is not the same as alleging lack of an adequate legal remedy, which Plaintiffs do not do. Br.
24
     at 7-8. Plaintiffs deflect by responding to an argument Gerber did not make, i.e., that “Sonner
25
     prevents parties from pleading claims for legal and equitable relief in the alternative.” Opp. at 10.
26
     Products’ other nutrition characteristics and ingredients dooms their claims. Br. at 7 (citing Sanchez
27   v. Nurture, Inc., No. 5:21-CV-08566, 2023 WL 6391487, at *6 (N.D. Cal. Sept. 29, 2023)).
     5
28    Plaintiffs also concede in a footnote that they do not state a claim based on the theory that Gerber
     purportedly misstates the protein content of certain plant-based products. Opp. at 9.
                                                     -4-
                                                           GERBER’S REPLY IN SUPPORT OF MOTION TO DISMISS –
     AMERICAS 117949192                                    CASE NO. 3:22-cv-04779-VC
      Case 3:22-cv-04779-VC           Document 76        Filed 11/21/24       Page 9 of 16


 1   They ignore the argument Gerber did make: that Plaintiffs cannot hedge against the possible failure

 2   of their legal claims by asserting alternative claims for equitable relief “rooted in the same

 3   allegations.” See Br. at 8. Plaintiffs’ argument that their “legal claims are more difficult to prove”

 4   and there is no legal remedy for their “unlawful” claims, Opp. at 10-11, does not, and cannot, refute

 5   Gerber’s showing that Plaintiffs base those claims on the same factual allegations and legal

 6   theory—that is, consumers relied on “nutrient content claims” in purchasing the Products.

 7            Plaintiffs’ attempts to distinguish Gerber’s authorities fail. They ignore Hain I, a parallel

 8   case filed by Plaintiff Howard in which this Court recognized an analogous set of fraud-based and

 9   “unlawful” and “unfair” prong claims were “substantively similar.” Br. at 7-8 (quoting Howard v.

10   Hain Celestial Grp., Inc. (“Hain I”), No. 22-CV-00527-VC, 2024 WL 718180, at *1 (N.D. Cal.

11   Feb. 22, 2024)). Plaintiffs also ignore Hanna v. Walmart Inc., where the court dismissed a UCL

12   claim because, as here, the plaintiff alleged only that she “lost money or property as a result of” her

13   purchase. Br. at 8-9. Plaintiffs attempt to distinguish Hanscom v. Reynolds Consumer Products

14   LLC on the ground that the plaintiff in that case “did not ‘plead facts establishing that the legal

15   remedies under the CLRA and for her common law claims are ‘inadequate or incomplete.’’” Opp.

16   at 11. This argument is disingenuous. A review of the complaint in Hanscom shows the plaintiff—

17   represented by the same Plaintiffs’ counsel—made the same allegations of purportedly inadequate

18   legal remedies in support of the UCL and FAL claims in that case. Compare Amended Complaint

19   at ¶¶ 69, 100, Hanscom v. Reynolds Consumer Prod. LLC, No. 21-CV-03434-JSW (N.D. Cal. Jan.

20   21, 2022), ECF No. 42, with SAC ¶¶ 134, 157. Regardless, Plaintiffs’ allegations that their legal

21   claims could fail and legal remedies are unavailable for their equitable claims are legal conclusions,

22   not facts. Plaintiffs do not, and cannot, identify any factual allegations supporting the conclusion

23   that the remedies available for their legal claims would not adequately address the same alleged

24   conduct and harms underlying their equitable claims.

25            Plaintiffs’ authorities do not help them. Plaintiffs point to this Court’s earlier citation of

26   Elgindy v. AGA Service Company, Opp. at 10, a case in which another court allowed UCL claims

27   to proceed because the “Plaintiffs’ claims under the unlawful and unfair prongs of the UCL [were]

28   rooted in a different theory than Plaintiffs’ common-law fraud, FAL, and UCL fraudulent prong
                                                     -5-
                                                            GERBER’S REPLY IN SUPPORT OF MOTION TO DISMISS –
     AMERICAS 117949192                                     CASE NO. 3:22-cv-04779-VC
     Case 3:22-cv-04779-VC           Document 76        Filed 11/21/24      Page 10 of 16


 1   claims.”6 No. 20-CV-06305, 2021 WL 1176535, at *15 (N.D. Cal. Mar. 29, 2021). Plaintiffs again

 2   ignore this Court’s subsequent holding in Hain I that unlike the claims in Elgindy, analogous legal

 3   and equitable claims were rooted in the same theory. Hain I, 2024 WL 718180, at *1. In Amans

 4   v. Tesla, Inc., this Court allowed a claim for specific performance to proceed because the plaintiff

 5   “adequately explained that ‘no comparable products . . . currently exist,’ and so damages would not

 6   remedy his injury.” No. 21-cv-03577-VC, 2022 WL 2952474, at *2 (N.D. Cal. July 26, 2022).

 7   That is far different than Plaintiffs’ vague, generic allegation of “lost money or property.”

 8            In Cepelak v. HP Inc., this Court dismissed claims for equitable monetary relief because, as

 9   here, they were “rooted in the same theory and factual allegations as their claims for damages.”

10   No. 20-CV-02450-VC, 2021 WL 5298022, at *1 (N.D. Cal. Nov. 15, 2021). This Court allowed

11   the Cepelak plaintiffs’ claim for injunctive relief to proceed because they plausibly alleged a desire

12   to purchase the product in the future—which, as explained in Gerber’s motion and below, Plaintiffs

13   do not and cannot do. In Day v. Advanced Micro Devices, Inc., this Court dismissed the plaintiff’s

14   equitable claim because the plaintiffs “ha[d] not even attempted to allege the inadequacy of legal

15   remedies.” No. 22-cv-04305-VC, 2023 WL 2347421, at *1 (N.D. Cal. Mar. 2, 2023).

16            Plaintiffs similarly fail to overcome Gerber’s showing that Plaintiffs cannot seek injunctive

17   relief because they do not plausibly allege an actionable certainly impending injury. Br. at 8-9

18   (citing Hanna v. Walmart Inc., No. 5:20-cv-01075-MCS-SHK, 2020 WL 7345680, at *7 (C.D. Cal.

19   Nov. 4, 2020)). Plaintiffs again ignore Hanna, in which the court rejected allegations that the

20   plaintiff “may” purchase the product again as an “insufficient possible future injury.” Id. at *7

21   (emphasis in original). Plaintiffs’ allegation that they “would likely” purchase the Products again

22   is more analogous to the equivocating language in Hanna than the conclusive “would purchase”

23   6
       The Elgindy plaintiffs’ claims involved an “assistance services fee” charged in connection with
24   event and travel ticket insurance policies. Id. at *4. They based their UCL “unlawful” and “unfair”
     claims on the fee itself, which they claimed violated California’s insurance laws. Id. But they
25   based their fraud claims on the defendants’ alleged use of offer language that “suggesting the price
     advertised was solely for the insurance premium, when it also included a hidden fee for a non-
26   insurance service.” Id. at *11. That is, the Elgindy plaintiffs based their “unlawful” and “unfair”
     claims on one fact—charging the fee—while they based their fraud claims on another—hiding the
27   fee from consumers. See id. In contrast, here, Plaintiffs base all their claims on the same facts and
     theory, i.e., that consumers relied on purported “nutrient content claims” in purchasing baby and
28   toddler food products. Plaintiffs do not, and cannot, allege fraud based on other facts (e.g.,
     allegations that information about sugar and sodium content was hidden from consumers).
                                                       -6-
                                                           GERBER’S REPLY IN SUPPORT OF MOTION TO DISMISS –
     AMERICAS 117949192                                    CASE NO. 3:22-cv-04779-VC
     Case 3:22-cv-04779-VC             Document 76      Filed 11/21/24      Page 11 of 16


 1   language in Davidson v. Kimberly-Clark. See 889 F.3d 956, 962 (9th Cir. 2018). Plaintiffs also do

 2   not, and cannot, cite any allegation in the SAC that they still buy Products for children under two.

 3   Instead, they dangle the red herring that courts sometimes allow “inherently transitory” claims for

 4   injunctive relief to proceed under the “relation back” doctrine. 7 Opp. at 12. But the “inherently

 5   transitory” doctrine does not independently confer standing. See, e.g., Stanford v. Home Depot

 6   U.S.A., Inc., No. 07CV2193-LAB(WMC), 2008 WL 7348181, at *7 (S.D. Cal. May 27, 2008).

 7   Thus, it does not apply where, as here, Plaintiffs do not adequately allege they had standing to seek

 8   injunctive relief when they filed their complaint. See id.

 9            Gerber also explained that, given their allegations that the Products are inherently harmful

10   to children under two, Plaintiffs cannot plausibly allege they desire to purchase the Products for

11   children under two again. Br. at 9. Plaintiffs ignore and thus concede this argument, which

12   independently defeats their claim for injunctive relief.8

13            C.          Plaintiffs’ UCL “Unlawful” Prong Claim Fails

14            Plaintiffs do not dispute the same “made with” claims this Court dismissed previously

15   should be dismissed again. See Br. at 10-11; Opp. at 13-15. Gerber also demonstrated many of the

16   other label statements identified in Plaintiffs’ SAC are not “nutrient content claims” because they

17   do not reference nutrients listed in the NFP and are not “made in association with an explicit claim

18   or statement about a nutrient.” Br. at 11. In response, Plaintiffs insist “claims like ‘1½ servings of

19   fruit’ or ‘2 servings of superfoods’…suggest[] that nutrients like fiber and vitamins are present in

20   a certain amount.” Opp. at 14. In support, Plaintiffs cite only their own pleading, as they do not,

21   and cannot, cite any case or regulation that stands for such a broad and amorphous standard.

22
     7
      Plaintiffs conflate the “inherently transitory” exception to mootness with the “capable of repetition
23   yet evading review” exception, which requires a distinct showing the plaintiff “personally would
     again be subject to the complained-of conduct sometime in the future” absent injunctive relief. See
24   Washington v. Marion Cty. Prosecutor, 264 F. Supp. 3d 957, 970-71 (S.D. Ind. 2017). Either way,
     Plaintiffs bear the burden of establishing they had standing at the time they filed their lawsuit—a
25   burden they do not attempt to satisfy.
     8
26     Plaintiffs do not cite Kimberly-Clark for this point. Regardless, it would not help them. In
     Kimberly-Clark, the plaintiff plausibly alleged that although she desired to purchase flushable
27   wipes in the future, she could not rely on the validity of the inaccurate “flushable” language on the
     product’s packaging in making future purchasing decisions. Kimberly-Clark, 889 F.3d at 970-71.
28   In contrast, Plaintiffs do not allege label claims on the Products are inaccurate or unreliable—rather,
     they allege the Products’ other (fully disclosed) characteristics make them inherently harmful.
                                                        -7-
                                                           GERBER’S REPLY IN SUPPORT OF MOTION TO DISMISS –
     AMERICAS 117949192                                    CASE NO. 3:22-cv-04779-VC
     Case 3:22-cv-04779-VC           Document 76       Filed 11/21/24      Page 12 of 16


 1   “Fruits” and “superfoods” categorically encompass countless fruits, vegetables, grains, legumes,

 2   and animal products, each of which contains different and varying amounts (some high and some

 3   low) of vitamins and fiber. Plaintiffs thus do not, and cannot, allege the words “fruits” and

 4   “superfoods”—or other categorical descriptions of food groups—suggest any specific nutrient is

 5   “absent or present in a certain amount,” as the regulation requires. See 21 C.F.R. § 101.13(b)(2).

 6            Plaintiffs cite Ang v. Bimbo Bakeries USA, Inc. to support their argument that the “‘9g

 7   Whole Grains’ claim suggests fiber is present in a certain amount in the same manner ‘high in oat

 8   bran’ does.” Opp at 14. Plaintiffs overstate the holding in Ang. There, the court did not

 9   conclusively decide the term “whole grains” implies a certain amount of fiber. Rather, the court

10   held the defendant failed to support its argument “at this juncture that whole grains ‘ingredients’

11   are not ‘nutrients’” with authority, such as a regulation defining “whole grains” accordingly. No.

12   13-CV-01196-WHO, 2013 WL 5407039, at *6 (N.D. Cal. Sept. 25, 2013). That is not the case

13   here. As Gerber explained in its motion, and as another federal district court held recently, the

14   applicable regulations “address statements about the set of nutrients a consumer sees in the

15   Nutrition Facts panel, not any statements about any ingredients whatsoever.” Br. at 12 (citing

16   Clemmons v. Upfield US Inc., 667 F. Supp. 3d 5, 15 (S.D.N.Y. 2023)). Plaintiffs ignore Clemmons.

17   Plaintiffs also ignore, and thus concede, Gerber’s argument that the “made in connection with”

18   standard requires the disputed claim to be expressly connected to a statement about a nutrient, not

19   merely appear somewhere on the same label. Br. at 11-12 (citing Andrade-Heymsfield v. Danone

20   US, Inc., No. 19-CV-589-CAB-WVG, 2019 WL 3817948, at *1, 7 (S.D. Cal. Aug. 14, 2019)).

21            In its motion, Gerber showed claims referencing the percentage of a vitamin are permissible

22   structure/function claims. In so arguing, Gerber responded to the Court’s observation that 21

23   C.F.R. § 101.93(f) only references dietary supplements by citing Andrade-Heymsfield, in which

24   another court recognized “[t]he FDA interprets structure/function claims, and health claims,

25   consistently across dietary supplements and conventional foods.” Br. at 13. Plaintiffs nevertheless

26   complain Gerber is merely “rehashing” its prior argument, and, bizarrely, argue “nothing about

27   Andrade-Heymsfiled [sic] supports” that “broad proposition,” Opp. at 15—even though the

28   language is a direct quote from Andrade-Heymsfield, which cites to and interprets FDA’s final rule
                                                 -8-
                                                          GERBER’S REPLY IN SUPPORT OF MOTION TO DISMISS –
     AMERICAS 117949192                                   CASE NO. 3:22-cv-04779-VC
     Case 3:22-cv-04779-VC              Document 76      Filed 11/21/24       Page 13 of 16


 1   on structure/function claims about dietary supplements. See 2019 WL 3817948, at *6.

 2            Plaintiffs also spill much ink on Gerber’s preservation of its argument that Plaintiffs’ claims

 3   are preempted by the FDCA, characterizing it as “gamesmanship” and declaring that Gerber

 4   “[s]hockingly” “ignores” the Ninth Circuit’s holding in Davidson that analogous claims were not

 5   impliedly preempted. See Opp. at 2, 10. Plaintiffs’ rhetoric lacks good faith. Gerber acknowledged

 6   in its motion that “the Ninth Circuit recently held analogous claims were not preempted,” and

 7   clarified that, given the intra-circuit split identified in Judge Collins’ dissent, it reasserts its

 8   preemption argument for the purpose of preserving it. Br. at 10 n.8.

 9            D.          Plaintiffs Lack Standing for Claims Based on Statements They Did Not Rely
                          On and Products They Did Not Purchase
10
              In its motion, Gerber explained in detail why Plaintiffs lack standing to assert claims based
11
     on label statements they did not rely on and dissimilar Products they did not purchase. Br. at 13-
12
     15. Gerber’s arguments specifically addressed the Court’s reasons for denying Gerber’s prior
13
     motion and cited subsequent authority—such as this Court’s recent holding in a parallel case that
14
     “plaintiffs bringing unlawful-prong claims must” show reliance on the specific “aspects of the label
15
     that make it unlawful.” Br. at 15 (citing Howard v. Hain Celestial Grp., Inc., No. 22-CV-00527-
16
     VC, 2024 WL 4369648, at *3 (N.D. Cal. Oct. 1, 2024)). Plaintiffs’ only response—a statement in
17
     a footnote that “[n]othing has changed in the SAC that would defeat Plaintiffs’ standing now,” Opp.
18
     at 15 n.5—is no response at all. See, e.g., Beasley v. Lucky Stores, Inc., 400 F. Supp. 3d 942, 950
19
     (N.D. Cal. 2019) (quoting Riegels v. Comm’r (In re Estate of Saunders), 745 F.3d 953, 962 n.8 (9th
20
     Cir. 2014)) (“[a]rguments raised only in footnotes … are generally deemed waived”).
21
              E.          Plaintiffs’ UCL “Unfair” Prong and Unjust Enrichment Claims Fail
22
              Gerber showed in its opening brief that Plaintiffs’ UCL “unfair” prong and unjust
23
     enrichment claims fail because they are entirely derivative of Plaintiffs’ other claims. Br. at 15.
24
     Plaintiffs assert the conclusion that an “unfair” prong claim can stand alone. Opp. at 15. But
25
     Plaintiffs do not, and cannot, cite any allegations in the SAC supporting their “unfair” claim that
26
     are distinct from those supporting their fraud-based claims. See id. Plaintiffs also do not dispute
27
     that if the Court dismisses their other claims, their unjust enrichment claim cannot proceed. See id.
28
                                                       -9-
                                                             GERBER’S REPLY IN SUPPORT OF MOTION TO DISMISS –
     AMERICAS 117949192                                      CASE NO. 3:22-cv-04779-VC
     Case 3:22-cv-04779-VC              Document 76       Filed 11/21/24         Page 14 of 16


              F.          Plaintiffs’ Objections to Gerber’s Request for Judicial Notice Should Be
 1                        Disregarded or, Alternatively, Overruled
 2
              Plaintiffs’ objections to Gerber’s request for judicial notice of Exhibit 1 should be stricken
 3
     because they violate Local Rule 7-3(a), which requires “[a]ny evidentiary and procedural objections
 4
     to the motion must be contained within the brief or memorandum.” Plaintiffs attempt to evade this
 5
     Court’s page limit by filing separate objections, despite Judge White’s warning to their counsel for
 6
     this same violation in another case. See Order to Show Cause and Response, Hanscom, No. 4:21-
 7
     cv-03434-JSW (N.D. Cal. July 9, 2021), ECF Nos. 29, 31.
 8
              Alternatively, Plaintiffs’ objections to Gerber’s request for judicial notice should be
 9
     overruled because taking judicial notice of “matters of public record,” such as publications on
10
     government-run websites, is entirely proper. MGIC Indem. Corp. v. Weisman, 803 F.2d 500, 504
11
     (9th Cir. 1986); see, e.g., Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998-99 (9th Cir. 2010)
12
     (taking judicial notice of information made publicly available by government entities where neither
13
     party disputed the authenticity of the website source). Plaintiffs’ cases are inapposite, or support
14
     Gerber’s position. Nearly all the cases Plaintiffs cite do not involve publicly available, government-
15
     issued documents. In the one case Plaintiffs cite that does, the court granted the request for judicial
16
     notice. See Obj. to Gerber’s RJN at 1 (citing United States v. S. Cal. Edison Co., 300 F. Supp. 2d
17
     964, 974, 976 (E.D. Cal. 2004) (taking judicial notice of a document purporting to be excerpts from
18
     the U.S. Forest Service Handbook published on the internet)). Plaintiffs’ complaint that Gerber did
19
     not attach the full 164-page document to its RJN also is not well-taken. Gerber has not selectively
20
     presented only the favorable portions of a non-public document. Rather, Gerber provided the Court
21
     with the URL to the full publicly available document in its RJN, while attaching an excerpt of the
22
     portion relevant to its argument for the Court’s ease of reference. Moreover, Plaintiffs do not refute
23
     Gerber’s showing that the Court can consider the document, which is cited throughout the SAC,
24
     under the incorporation by reference doctrine. See RJN at 1-2.
25
              CONCLUSION
26
              For these reasons and those set forth in its opening brief, Gerber respectfully requests the
27
     Court grant its motion to dismiss the SAC with prejudice.
28
                                                       - 10 -
                                                                GERBER’S REPLY IN SUPPORT OF MOTION TO DISMISS –
     AMERICAS 117949192                                         CASE NO. 3:22-cv-04779-VC
     Case 3:22-cv-04779-VC      Document 76      Filed 11/21/24         Page 15 of 16


     Dated: November 21, 2024                     WHITE & CASE LLP
 1

 2                                                By:      /s/ Bryan A. Merryman
                                                              Bryan A. Merryman
 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                              - 11 -
                                                       GERBER’S REPLY IN SUPPORT OF MOTION TO DISMISS –
     AMERICAS 117949192                                CASE NO. 3:22-cv-04779-VC
     Case 3:22-cv-04779-VC           Document 76       Filed 11/21/24       Page 16 of 16


                                       CERTIFICATE OF SERVICE
 1

 2             I hereby certify that a true and correct copy of the foregoing document was filed in the

 3   Court’s CM/ECF System this 21st day of November, 2024, and thereby served on all counsel of

 4   record.

 5                                                                   /s/ Bryan A. Merryman
 6                                                                    Bryan A. Merryman

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                     -1-
                                                           GERBER’S REPLY IN SUPPORT OF MOTION TO DISMISS –
     AMERICAS 117949192                                    CASE NO. 3:22-cv-04779-VC
